                            UNITED STATES DISTRICT COURT           JAN 20 ton
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                                            Clerk u. s. District court
                                 CHATTANOOGA DIVISION      Easter~ District of Tennessee
                                                                 At Chattanooga
 TRAVELERS CASUALTY AND SURETY
 COMPANY OF AMERICA, as                            No.:         /:ii-CV-
                                                                Jl
 assignee and subrogee of Mark E. Schuster Holding
 Company, LLC and Breathing Air Systems, Inc.
                                                                    CL c.. / L
                                                                   .e_Q_
                       Plaintiff,
V.

BRADLEY G. SMITH and S AND S FIRE AND
SAFETYLLC,

                       Defendants.

                                             COMPLAINT

        Plaintiff Travelers Casualty and Surety Company of America, as assignee and subrogee

of Mark E. Schuster Holding Company, LLC and Breathing Air Systems, Inc., through its

attorneys, files this Complaint against Defendants Bradley G. Smith and S and S Fire and Safety

LLC, and in suppo1i thereof states the following:

                                           PARTIES

        1.     Plaintiff Travelers Casualty and Surety Company of America ("Travelers") is an

insurance company organized and existing under the laws of the State of Connecticut, having its

principal place of business in Hmiford, Connecticut.

       2.      Defendant Bradley G. Smith ("Smith") is an adult individual who resides at 1355

County Road 155, Flat Rock, Alabama 35966.

       3.     Defendant S and S Fire and Safety, LLC ("S&S") is an Alabama limited liability

company with a registered address located at 1355 County Road 155, Flat Rock, Alabama

35966. Smith and S&S hereafter collectively will be referred to as "Defendants".




Case 1:21-cv-00011-CLC-SKL Document 1 Filed 01/20/21 Page 1 of 9 PageID #: 1
        4.       Upon information and belief, at all relevant times Smith was S&S's sole and

 controller member.

                                  JURISDICTION AND VENUE

        5.       This Court has subject matter jurisdiction over the claims in this Complaint

pursuant to 28 U.S.C. § 1332(a)(l), in that complete diversity of citizenship exists between

Travelers and Defendants and the amount in controversy exceeds $75,000.

        6.       Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events giving rise to the claim occurred in this district.

                                   FACTUAL ALLEGATIONS

        7.      Until February 2019, Smith was employed as a Branch and Sales Manager for

Breathing Air Systems, Inc., a wholly owned subsidiary of Mark E. Schuster Holding Company,

LLC (collectively, "Schuster"), that supplies air compressors and related breathing air equipment

("Equipment").

       8.      As part of its promotional efforts, Schuster allows customers to purchase new

Equipment at a discount if the customer transfers its existing, used Equipment to Schuster

("Trade-In Equipment").

       9.      Schuster in turn sells the Trade-In Equipment on the secondary market, which

allows Schuster to discount its prices on new Equipment.

       10.     As a Branch and Sales Manager for Schuster, Smith had access to and control

over both the new Equipment and Trade-In Equipment owned by Schuster. Smith additionally

had authority and control over certain employees of Schuster.




                                                  2

Case 1:21-cv-00011-CLC-SKL Document 1 Filed 01/20/21 Page 2 of 9 PageID #: 2
          11.    From July 2014 through January 2019, Smith, in his role as Branch and Sales

 Manager, created a scheme to divert the Trade-In Equipment to S&S, an entity that Smith

 formed and managed solely for the purpose of carrying out the scheme.

          12.   After diverting Schuster's Trade-In Equipment to S&S, Defendants would resell

the Trade-In Equipment to fire departments and additional customers throughout the region.

          13.   Additionally, Smith provided invoices and other documents to Schuster

employees that falsely represented that S&S was an authorized vendor of Schuster.

          14.   The false invoices allowed S&S to utilize Schuster's labor and electronic systems

at no cost to S&S.

          15.   On or about January 31, 2019, Schuster discovered Defendants' fraudulent

scheme and terminated Smith's employment with Schuster.

        16.     In total, Defendants' fraudulent scheme caused damages of no less than $376,754

to Schuster.

        17.     Smith was criminally charged with felony theft due to his scheme and the

criminal case against him remains pending in the Hamilton County Criminal Comi at Case No.

307497.

        18.     Despite demand, neither Smith nor S&S has returned any portion of the $376,754

misappropriated from Schuster.

        19.     Travelers is Schuster's fidelity insurer, issuing a policy of insurance (No. 069-LB-

l 05553136) (the "Policy") to Schuster in which Travelers agreed to insure Schuster for losses

sustained due to employee dishonesty.

       20.      Pursuant to the Policy, Travelers indemnified Schuster for the losses that Schuster

sustained as a result of Smith's misconduct.



                                                 3

Case 1:21-cv-00011-CLC-SKL Document 1 Filed 01/20/21 Page 3 of 9 PageID #: 3
        21.     Because Travelers indemnified Schuster, Travelers has become subrogated

 Schuster's rights and claims.

        22.     Additionally, Schuster assigned to Travelers all of the rights, claims, and causes

of action that Schuster has against Smith, S&S, and others related to Smith's misconduct. A true

and correct copy of the Assignment and Release agreement is attached hereto as Exhibit "A".

                                           COUNTI
                                        CIVIL FRAUD
                                     Travelers v. Defendants

        23.     Travelers repeats and realleges the foregoing and the following allegations as if

set forth herein.

        24.     By submitting forged and falsified invoices, Defendants represented to Schuster

and its employees that it was entitled to receive the Equipment and that S&S was an authorized

vendor of Schuster.

       25.      Defendants' representations were material and false, because S&S was not

entitled to the Equipment and additionally was not an authorized vendor of Schuster.

       26.      Defendants made the false representations with the intent to mislead Schuster into

relying upon them.

       27.     Schuster reasonably relied on the representations of Defendants when its

employees provided their labor services for the benefit of S&S, as well as authorized the transfer

of the Equipment to S&S.

       28.     Defendants' conduct was wanton and willful and committed with actual malice.

       29.     As a result of Defendants' misrepresentations, Schuster, and thus Travelers,

suffered a loss in the principal amount of $376,754 and is entitled to an award of punitive

damages in addition to compensatory damages.



                                                4

Case 1:21-cv-00011-CLC-SKL Document 1 Filed 01/20/21 Page 4 of 9 PageID #: 4
                                              COUNT II
                                           CONVERSION
                                        Travelers v. Defendants

         30.        Travelers repeats and realleges the foregoing and the following allegations as if

 set forth herein.

         31.        Schuster was the rightful possessor and owner of the Trade-In Equipment.

         32.        Without Schuster's consent and without lawful justification, Defendants deprived

Schuster of its rightful possession and ownership of the Trade-In Equipment by transferring the

Trade-In Equipment to S&S.

        33.      Despite demand, Defendants have not returned the $376,754 due and owing to

Schuster or Travelers, which reflects the fair market value of the converted Trade-In Equipment.

        34.     Defendants' actions were wanton, willful and committed with actual malice.

        35.     As a result of Defendants' actions, Schuster, and thus Travelers, suffered a loss in

the principal amount of $376,754 and is entitled to an award of punitive damages in addition to

compensatory damages.

                                          COUNTIII
                                  BREACH OF FIDUCIARY DUTY
                                       Travelers v. Smith

        36.     Travelers repeats and realleges the foregoing and the following allegations as if

set forth herein.

        37.     As Schuster's Branch and Sales Manager with access to and control of Schuster's

Equipment inventory, employees, and proprietary information, Smith owed a fiduciary duty to

Schuster to act in Schuster's best interests, including to refrain from stealing from Schuster.

        38.     Smith breached his fiduciary duty owed to Schuster by diverting Schuster's

Trade-In Equipment and labor to S&S, ultimately to Smith's benefit.



                                                   5

Case 1:21-cv-00011-CLC-SKL Document 1 Filed 01/20/21 Page 5 of 9 PageID #: 5
        39.       Smith's actions were wanton, willful and committed with actual malice.

        40.       As a result of Smith's actions, Schuster, and thus Travelers, suffered a loss in the

principal amount of $376,754.

                                            COUNTIV
                                      UNJUST ENRICHMENT
                                       Travelers v. Defendants

        41.       Travelers repeats and realleges the foregoing and the following allegations as if

set forth herein.

        42.       Defendants obtained a benefit from Schuster in the total amount of $376,754,

which reflects the value of the Trade-In Equipment and services that Defendants stole from

Schuster.

        43.      Defendants knowingly accepted said benefit.

       44.       Despite demand for repayment, Defendants have retained such benefit by not

returning the Equipment, or $376,754, to Schuster or Travelers.

       45.       It is inequitable and unjust for Defendants to continue to retain the benefit that

they received without disgorging such benefit.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Travelers Casualty and Surety Company of America requests

that this Honorable Comi award the following relief;

       1. Judgment in its favor and against Defendants, jointly and severally for compensatory

              damages in the amount of $376,754;

       2. An award of punitive damages due to Defendants' willful and wanton misconduct;

       3. Pre- and post-judgment interest, costs, and attorneys' fees; and

       4.     All further relief that this Honorable Court determines to be just and proper.



                                                   6

Case 1:21-cv-00011-CLC-SKL Document 1 Filed 01/20/21 Page 6 of 9 PageID #: 6
                                   McELROY, DEUTSCH, MULVANEY &
                                       CARPENTER, LLP


                             By:
                                   Matthew A. Lipman, Esquire
                                   1617 JFK Boulevard, Suite 1500
                                   Philadelphia, Pennsylvania 19103-1815
                                   Telephone: (215) 557-2900
                                   Facsimile: (215) 557-2990
                                   mlipman@mdmc-law.com
                                   Attorneys for Plaintifl,· Travelers Casualty
                                   and Surety Company ofAmerica
Dated: January 19, 2021




                                     7

Case 1:21-cv-00011-CLC-SKL Document 1 Filed 01/20/21 Page 7 of 9 PageID #: 7
             EXHIBIT "A"


Case 1:21-cv-00011-CLC-SKL Document 1 Filed 01/20/21 Page 8 of 9 PageID #: 8
                                                                            RELEASE AND ASSIGNMENT

           KNOW ALL MEN BY THESE PRESENTS that, the undersigned, Mark E. Schuster Holding Company,

 LLC, for the sole consideration of Three Hundred Forty Seven Thousand Thirty Seven and 00/100 ($347,037.00)

 Dollars, to it paid by Travelers Casualty and Surety Company of America (the "Company") under the provisions of

 Bond/Policy No. 069-LB-105553136 (the "Bond/Policy"), the receipt and sufficiency of which is hereby

 acknowledged, does hereby release and forever discharge the Company, its parent, affiliates, subsidiaries,

 successors and assigns in connection with that certain claim described in that certain Proof of Loss dated April 26,

 2019 and all additional documentation and information provided in support of said Proof of Loss (the "Claim").

          IN FURTHER CONSIDERATION of the aforesaid payment, the undersigned does hereby transfer, assign and

 set over to the Company all of its claims, rights, demands and causes of action against all persons, firms or

 corporations whomsoever arising out of or in any way connected with the Claim (the "Claims and Rights"). The

 undersigned represents and warrants that it has not assigned any Claims and Rights to any other party. The Company

 may pursue the Claims and Rights in its own name, or, ifit so elects, in the name of the undersigned. The undersigned

 further represents and warrants that there are no pending civil lawsuits, actions, arbitrations or other legal proceedings

 initiated by the undersigned against any person, firm, or corporation arising out of or in any way connected with the

 Claims and Rights, except for the following: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (which matter is included in

 this Assignment). The undersigned affirms its understanding and agreement (i) that the Company shall have the right,

 in its sole and absolute discretion, to determine for itself and the undersigned whether to pursue, compromise, settle,

 and/or abandon any of the assigned Claims and Rights; and (ii) to be bound by the Bond/Policy provisions relating

 to recovery (including, without limitation, the order of recovery provisions) and to cooperate with the Company to

 the fullest extent possible to affect recovery.

                The undersigned additionally agrees to execute any and all further papers, releases and/or assignments that

 may be necessary to effectuate the purposes of the above assignment.

                Executed at                   N'1'~\t'.'>                                                       f)or.J~                                           ,this).3                             day of




                                                      ***11*'"'"*-"'* 0 •*"'**....,*"" Our toU•frec numbtr is, 800.842-8496 •·0 •• 0 •*** 0 •* 0 *,...******
 If possible. please $Cnd future communications and documents conccming this claim 1,iu email toSGIIAYES@;travl!lers.comPlease include the claim number in the irubjcct line. (Plc.asc note 1hat in certain cases we
                                                                                        may stiJI request original documents).
 Rev 08/13/16                                                                                                                                                                               CR-05




Case 1:21-cv-00011-CLC-SKL Document 1 Filed 01/20/21 Page 9 of 9 PageID #: 9
